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  EXHIBIT 35
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                                                James Log-371 (7212)

                    United States v. George Thomas Brokaw, et al., Case No. 13-CR-00392-CMA

                                      Code for Bases for Admission of Statements

a.   Statements which in any way promote the objective(s) of a conspiracy.
b.   Statements which reveal the existence of a conspiracy.
c.   Statements to new or prospective members of a conspiracy which explain the conspiracy.
d.   Statements which are intended to recruit potential coconspirators or to otherwise induce others to assist in carrying out
     the objectives of the conspiracy.
e.   Statements which identify a conspirator or the role of a conspirator.
f.   Statements which explain important events in the conspiracy.
g.   Statements which are designed to give directions to facilitate the objectives of the conspiracy.
h.   Statements which are designed to advise coconspirators of the progress of the conspiracy and keep them abreast of activities
     associated with the conspiracy.
i.   Statements which are intended to assure the listener of a conspirator’s ability to consummate a particular transaction.
j.   Statements which are designed to gain the trust of other conspirators or potential conspirators, to reassure trustworthiness,
     or to allay suspicions or fears.
k.   Statements which are intended to control damage to the conspiracy.
l.   Statements which prompt the listener to respond in a way that facilitates carrying out the activities of the conspiracy.
m.   Statements which conceal the objective of the conspiracy.
n.   Statements which are intended to enhance a coconspirator=s usefulness to the conspiracy.
o.   Statements which set in motion acts that are an integral part of the conspiracy.
p.   Statements which constitute “puffing” or “boasting” in promotion of the conspiracy.
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         James Log‐371 (7212)
Number    Stmt Date Statement                                          Declarant   Source           Bates #s     Admission Bases
     1    3/25/2008 It is hereby certified, that on 3/25/08, the       Vigil       Notary's         00000115     b, e
                    undersigned Notary Public mailed to:                           Certificate of   , 0002851
                    S. Kilpatrick                                                  Service
                    c/o Internal Revenue Service
                    Ogden, UT. 84201
                    hereinafter, “Recipient,” the documents and
                    sundry papers pertaining to a certain Account
                    #330‐42‐9404, noted accepted for value,
                    regarding John‐Joseph: Pawelski as follows:
                    1. Due Presentment Under Notary Seal
                    2. Notice of Federal Tax Lien, accepted for
                    value, and Money Order in the amount of
                    $23,288.48
                    3. Private use envelope, accepted for value, and
                    Money Order in the amount of $300.00
                    4. Private use envelope, accepted for value, and
                    Money Order in the amount of $300.00
                    5. Notice of Federal Tax Lien, accepted for
                    value, and Money Order in the amount of
                    $7919.46
                    6. Notice of Federal Tax Lien, accepted for
                    value, and Money Order in the amount of
                    $45,217.35
                    7. Your copy of the IRS Form 1099‐OID report of
                    your taxable gain
                    8. IRS Form 1040V (photocopy) for
                                                                                                                Page 1 of 49
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Number   Stmt Date Statement                                          Declarant   Source   Bates #s    Admission Bases
     1   3/25/2008 reconciliation with IRS when you file your taxes
                   9. IRS Form 56 (photocopy) granting authority
                   to the Secretary of the Treasury to process
                   payment and setoff in this matter
                   10. IRS Form 1040 (photocopy)
                   11. Copy IRS Form 1096
                   12. Reference copy Notary’s Certificate of
                   Service (signed original on file)
                   By First Class U.S. mail by placing same in a
                   postpaid envelope properly addressed to
                   Recipient at the said address and depositing
                   same at an official depository under the
                   exclusive face and custody of the U.S. Postal
                   Service within the STATE OF COLORADO




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Number   Stmt Date Statement                                           Declarant   Source             Bates #s    Admission Bases
     2   4/1/2009 On this 1st day of April, 2009, for the purposes     Vigil       Affidavit of       00004629    b, e
                  of verification, I, the undersigned Notary Public,               Notary
                  being Commissioned in the County and State                       Presentment /
                  noted above, do certify that John‐Joseph                         Certification of
                  :Pawelski appeared before me with with the                       Mailing
                  following documents listed below. I, the below
                  signed notary, personally verified that these
                  documents were placed in an envelope and
                  sealed by me. They were sent by United States
                  Post Office Registered Mail # RE 016 974 910
                  US.
                  Timothy F. Geithner
                  SECRETARY OF THE TREASURY, DEPARTMENT
                  OF THE TREASURY
                  1500 PENSYLVANIA AVE., NW
                  WASHINGTON, D.C. 20220

                    List of Documents Mailed:

                    Copy Affidavit of Notary Presentment
                    PRE‐OFFSET NOTICE FOR BALANCE BOOK
                    ADJUSTMENT
                    Copy UCC‐1 FILING #20032103700
                    Copy UCC‐1 ADDENDUM # 20032103700
                    Copy UCC‐1 Filing #20092025444
                    Original ATTACHMENT A, PROPERTY LIST
                    Original POWER OF ATTORNEY
                    Original COMMERCIAL SECURITY AGGREMENT
                    Original ATTACHMENT A, PROPERTY LIST
                                                                                                                 Page 3 of 49
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Number   Stmt Date Statement                                  Declarant   Source   Bates #s    Admission Bases
     2   4/1/2009 Original Attachment “B” – INDEMNITY BOND
                  Original ACTUAL AND CONSTRUCTIVE NOTICE
                  Original HOLD HARMLESS AND INDEMNITY
                  AGREEMENT
                  Original NON‐NEGOTIABLE SECURITY
                  AGREEMENT
                  Original LEGAL NOTICE AND DEMAND WITH
                  ATTACHMENTS
                  Original CHARGEBACK ORDER
                  Original FIDUCIARY APPOINTMENT, TIMOTHY
                  GEITHNER
                  Original FIDUCIARY APPOINTMENT, DOUGLAS
                  SCHULMAN
                  Original FIDUCIARY APPOINTMENT, ERIC
                  THORSON
                  Original IRS FORM 56, TIMOTHY GEITHNER
                  Original IRS FORM 56, DOUGLAS SCHULMAN
                  Original IRS FORM 56, ERIC THORSON
                  Original IRS FORM 1040‐V
                  Original NON‐NEGOTIABLE INTERNATIONAL
                  BILL OF EXCHANGE
                  Original BIRTH CERTIFICATE ACCEPTED FOR
                  VALUE
                  Original PRIVATE REGISTERED BOND FOR SET‐
                  OFF NON‐NEGOTIABLE
                  Copy AFFIDAVIT OF TRUTH AND DENIAL OF
                  CORPORATE EXISTENCE

                   Witness my hand and official seal.
                                                                                              Page 4 of 49
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Number   Stmt Date Statement                           Declarant   Source     Bates #s    Admission Bases




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Number   Stmt Date Statement                                           Declarant   Source             Bates #s    Admission Bases
     3   4/1/2009 On this 1st day of April, 2009, for the purposes     Vigil       Affidavit of       00004454    b, e
                  of verification, I, the undersigned Notary Public,               Notary             ‐
                  being Commissioned in the County and State                       Presentment /      00004455
                  noted above, do certify that GEORGE THOMAS                       Certification of
                  BROKAW appeared before me with the                               Mailing
                  following documents listed below. I, the below
                  signed notary, personally verified that these
                  documents were placed in an envelope and
                  sealed by me. They were sent by United States
                  Post Office Registered Mail # RA 218 079 911
                  US.
                  Timothy F. Geithner
                  DEPARTMENT OF THE TREASURY
                  SECRETARY OF THE TREASURY
                  1500 PENSYLVANIA AVE., NW
                  WASHINGTON, DC. 20220

                    List of Documents Mailed:

                    PRE‐OFFSET NOTICE FOR BALANCE BOOK
                    ADJUSTMENT
                    Copy UCC‐1 FILING #20082123808
                    Copy UCC‐1 ADDENDUM
                    Copy UCC‐3 CORRECTION AND AMENDMENT
                    #20092024934

                    4. POWER OF ATTORNEY
                    5. COMMERCIAL SECURITY AGGREMENT
                       E. ACTUAL AND CONSTRUCTIVE NOTICE
                                                                                                                 Page 6 of 49
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Number   Stmt Date Statement                                    Declarant   Source   Bates #s    Admission Bases
     3   4/1/2009      F. HOLD HARMLESS AND INDEMNITY
                    AGREEMENT
                    6. LEGAL NOTICE AND DEMAND WITH
                    ATTACHMENTS

                    Original CHARGEBACK ORDER
                    Original FIDUCIARY APPOINTMENT, TIMOTHY
                    GEITHNER
                    Original FIDUCIARY APPOINTMENT, DOUGLAS
                    SCHULMAN
                    Original FIDUCIARY APPOINTMENT, ERIC
                    THORSON
                    Original IRS FORM 56, TIMOTHY GEITHNER
                    Original IRS FORM 56, DOUGLAS SCHULMAN
                    Original IRS FORM 56, ERIC THORSON
                    Original IRS FORM 1040‐V
                    Original NON‐NEGOTIABLE INTERNATIONAL
                    BILL OF EXCHANGE
                    Original BIRTH CERTIFICATE ACCEPTED FOR
                    VALUE
                    Original PRIVATE REGISTERED BOND FOR SET‐
                    OFF NON‐NEGOTIABLE

                    Witness my hand and official seal.




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Number   Stmt Date Statement                                         Declarant   Source             Bates #s    Admission Bases
     4   4/10/2009 On this 10th day of April, 2009, for the          Mueller     Affidavit of       00004535
                   purposes of verification, I, the undersigned                  Notary
                   Notary Public, being Commissioned in the                      Presentment /
                   County and State noted above, do certify that                 Certification of
                   Mimi‐Michelle :Vigil appeared before me with                  Mailing
                   the following documents listed below. I, the
                   below signed notary, personally verified that
                   these documents were placed in an envelope
                   and sealed by me. They were sent by United
                   States Post Office Registered Mail # RA 218 079
                   837 US.
                   Timothy F. Geithner
                   SECRETARY OF THE TREASURY, DEPARTMENT
                   OF THE TREASURY
                   1500 PENSYLVANIA AVE., NW
                   WASHINGTON, D.C. 20220

                     List of Documents Mailed:

                     Copy Affidavit of Notary Presentment
                     PRE‐OFFSET NOTICE FOR BALANCE BOOK
                     ADJUSTMENT
                     Copy UCC‐1 FILING #20032106975
                     Copy UCC‐1 ADDENDUM # 20032106975
                     Copy UCC‐1 Filing #20092025445
                     Original ATTACHMENT A, PROPERTY LIST
                     Original POWER OF ATTORNEY
                     Original COMMERCIAL SECURITY AGREEMENT
                     Original ATTACHMENT A, PROPERTY LIST
                                                                                                               Page 8 of 49
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Number   Stmt Date Statement                                   Declarant   Source   Bates #s    Admission Bases
     4   4/10/2009 Original Attachment “B” – INDEMNITY BOND
                   Original ACTUAL AND CONSTRUCTIVE NOTICE
                   Original HOLD HARMLESS AND INDEMNITY
                   AGREEMENT
                   Original NON‐NEGOTIABLE SECURITY
                   AGREEMENT
                   Original LEGAL NOTICE AND DEMAND WITH
                   ATTACHMENTS
                   Original CHARGEBACK ORDER
                   Original FIDUCIARY APPOINTMENT, TIMOTHY
                   GEITHNER
                   Original FIDUCIARY APPOINTMENT, DOUGLAS
                   SCHULMAN
                   Original FIDUCIARY APPOINTMENT, ERIC
                   THORSON
                   Original IRS FORM 56, TIMOTHY GEITHNER
                   Original IRS FORM 56, DOUGLAS SCHULMAN
                   Original IRS FORM 56, ERIC THORSON
                   Original IRS FORM 1040‐V
                   Original NON‐NEGOTIABLE INTERNATIONAL
                   BILL OF EXCHANGE
                   Original BIRTH CERTIFICATE ACCEPTED FOR
                   VALUE
                   Original PRIVATE REGISTERED BOND FOR SET‐
                   OFF NON‐NEGOTIABLE
                   Copy AFFIDAVIT OF TRUTH AND DENIAL OF
                   CORPORATE EXISTENCE

                    Witness my hand and official seal.
                                                                                               Page 9 of 49
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                                                 51




Number   Stmt Date Statement                                          Declarant   Source            Bates #s    Admission Bases
     5   4/20/2009 On April 20, 2009, I mailed to:                    Mueller     Certificate of    00004357    b, e
                                                                                  Service
                     Timothy F. Geithner, Secretary of the Treasury               regarding bond
                     The United States Department of the Treasury                 in Vigil's name
                     1500 Pennsylvania Ave NW
                     Washington, D.C. [20220]

                     The papers identified as:

                     1.Private Registered Indemnity Bond
                     2.Copy of Cer ficate of Service

                     By mailing them in a pre‐paid envelope,
                     addressed to the recipient named above,
                     bearing Registered mail #RA 218 080 530 US.




                                                                                                               Page 10 of 49
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Number   Stmt Date Statement                                          Declarant   Source             Bates #s    Admission Bases
     6   5/1/2009 On this 1st day of May, 2009, for the purpose of    Vigil       Affidavit of       SW‐         b, e
                  verification, I, the undersigned Notary Public,                 Notary             PALM‐
                  being commissioned in the County and State                      Presentment/       00001243
                  noted above, do certify that George‐Thomas:                     Certification of
                  Brokaw appeared before me with the following                    Mailing
                  documents listed below. I, the below signed
                  notary, personally verified that these
                  docuemnts were placed in an envelope and
                  sealed by me. They were sent by United States
                  Post Office Registered Mail # RA 218 079 871
                  US.

                    INTERNAL REVENUE SERVICE
                    OPERATIONS MANAGER, ACCTS MANAGEMENT
                    2
                    ANNA S. MEDLOCK
                    P.O. BOX 149338
                    AUSTIN, TX. 78714‐9338

                    List of Documents Mailed:

                    Copy of Affidavit of Notary Presentment
                    Pre‐offset notice for balanced book adjustment
                    Private Bonded Promissory Note
                    Copy of Bill accepted for value
                    1040V Accepted for Value
                    Copy of Form 56 notifying Timothy F. Geither as
                    fiduciary

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Number   Stmt Date Statement                                         Declarant   Source            Bates #s    Admission Bases
     7   5/4/2009 On May 4, 2009, I mailed to:                       Mueller     Certificate of    00003781    b, e
                                                                                 Service
                   Timothy F. Geithner, Secretary of the Treasury                regarding bond
                   The United States Department of the Treasury                  in Vigil's name
                   1500 Pennsylvania Ave NW
                   Washington, D.C. [20220]

                   The papers identified as:

                   1 Registered Private Off‐set and Discharge Bond
                   2.Copy of Cer ficate of Service

                   By mailing them in a pre‐paid envelope,
                   addressed to the recipient named above,
                   bearing Registered mail #RA 218 080 543 US.




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Number   Stmt Date Statement                                           Declarant   Source             Bates #s    Admission Bases
     8   6/2/2009 On this 2nd day of June, 2009, for the purposes      Mueller     Affidavit of       00004622    b, e
                  of verification, I, the undersigned Notary Public,               Notary
                  being Commissioned in the County and State                       Presentment /
                  noted above, do certify that Mimi‐Michelle                       Certification of
                  :Vigil appeared before me with the following                     Mailing
                  documents listed below. I, the below signed
                  notary, personally verified that these
                  documents were placed in an envelope and
                  sealed by me. They were sent by United States
                  Post Office Registered Mail #RA 218 080 565 US
                  to:
                  Timothy F. Geithner, Secretary of the Treasury
                  The United States Department of the Treasury
                  1500 Pennsylvania Ave NW
                  Washington, D.C. [20220]

                    List of Documents Mailed:

                    1.Registered Private Oﬀset and Discharge Bond
                    2.Copy of aﬃdavit of Notary Presentment

                    Witness my hand and official seal.




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Number   Stmt Date Statement                                           Declarant   Source             Bates #s    Admission Bases
     9   6/2/2009 On this 2nd day of June, 2009, for the purposes      Mueller     Affidavit of       00004386    b, e
                  of verification, I, the undersigned Notary Public,               Notary
                  being Commissioned in the County and State                       Presentment /
                  noted above, do certify that Mimi‐Michelle                       Certification of
                  :Vigil appeared before me with the following                     Mailing
                  documents listed below. I, the below signed
                  notary, personally verified that these
                  documents were placed in an envelope and
                  sealed by me. They were sent by United States
                  Post Office Certified Mail # 7007 2680 0001
                  7046 1256.
                  ERIC THORSON
                  U.S. TREASURY – INSPECTOR GENERAL
                  1500 PENSYLVANIA AVE N.W.
                  WASHINGTON, D.C. 20220

                    List of Documents Mailed:

                    Copy Affidavit of Notary Presentment
                    PRE‐OFFSET NOTICE FOR BALANCE BOOK
                    ADJUSTMENT
                    Copy UCC‐1 FILING #20032106975
                    Copy UCC‐1 ADDENDUM # 20032106975
                    Copy UCC‐3 Filing #20092025444
                    Original ATTACHMENT A, PROPERTY LIST
                    Original POWER OF ATTORNEY
                    Original COMMERCIAL SECURITY AGGREMENT
                    Original ATTACHMENT A, PROPERTY LIST
                    Original Attachment “B” – INDEMNITY BOND
                                                                                                                 Page 14 of 49
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Number   Stmt Date Statement                                  Declarant   Source   Bates #s    Admission Bases
     9   6/2/2009 Original ACTUAL AND CONSTRUCTIVE NOTICE
                  Original HOLD HARMLESS AND INDEMNITY
                  AGREEMENT
                  Original NON‐NEGOTIABLE SECURITY
                  AGREEMENT
                  Original LEGAL NOTICE AND DEMAND WITH
                  ATTACHMENTS
                  Original CHARGEBACK ORDER
                  Original FIDUCIARY APPOINTMENT, TIMOTHY
                  GEITHNER
                  Original FIDUCIARY APPOINTMENT, DOUGLAS
                  SCHULMAN
                  Original FIDUCIARY APPOINTMENT, ERIC
                  THORSON
                  Original IRS FORM 56, TIMOTHY GEITHNER
                  Original IRS FORM 56, DOUGLAS SCHULMAN
                  Original IRS FORM 56, ERIC THORSON
                  Original IRS FORM 1040‐V
                  Original NON‐NEGOTIABLE INTERNATIONAL
                  BILL OF EXCHANGE
                  Original BIRTH CERTIFICATE ACCEPTED FOR
                  VALUE
                  Original PRIVATE REGISTERED BOND FOR SET‐
                  OFF NON‐NEGOTIABLE
                  Copy AFFIDAVIT OF TRUTH AND DENIAL OF
                  CORPORATE EXISTENCE

                   Witness my hand and official seal.

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Number   Stmt Date Statement                                            Declarant   Source             Bates #s    Admission Bases
    10   6/19/2009 On this 19th day of June, 2009, for the purposes     Mueller     Affidavit of       SW          b, e
                   of verification, I, the undersigned Notary Public,               Notary             SHADY‐
                   being Commissioned in the County and State                       Presentment /      00001340
                   noted above, do certify that Mimi‐Michelle                       Certification of
                   :Vigil appeared before me with the following                     Mailing
                   documents listed below. I, the below signed
                   notary, personally verified that these
                   documents were placed in an envelope and
                   sealed by me. They were sent by United States
                   Post Office Registered Mail #RA 218 079 770
                   US.:
                   INTERNAL REVENUE SERVICE
                   OPERATIONS MANAGER, ACCTS MANAGEMENT
                   2
                   ANNA S. MEDLOCK
                   P.O. BOX 149338
                   AUSTIN, TX. 78714‐9338

                     List of Documents Mailed:

                     1.Copy oAﬃdavit of Notary Presentment
                     2.Pre‐oﬀset no ce for balanced book
                     adjustment
                     3.Original Private Bonded Promissory Note
                     4.Copy of Bill accepted for value
                     5.1040v Accepted for Value
                     6.Copy of Form 56 no fying Timothy F.
                     Geithner as fiduciary

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Number   Stmt Date Statement                            Declarant   Source           Bates #s    Admission Bases
    11   6/27/2009 Here is the updated Bonds and BPN.   Pawelski    Email from       SW‐PINE     a, b, e, h, l, n
                                                                    Pawelski to      RIDGE‐
                                                                    Brokaw, Vigil,   00000050
                                                                    Mueller, and
                                                                    others           (Message
                                                                                     0641)




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Number   Stmt Date Statement                                          Declarant   Source         Bates #s    Admission Bases
    12   12/2/2009 On this 2nd day of December, 2009, for the         Mueller     Affidavit of   00003402    b, e
                   purpose of verification, I, the undersigned                    Notary
                   Notary Public, being commissioned in the                       Presenment
                   County and State noted above, do certify that
                   Mimi‐Michelle: Vigil appeared before me with
                   the following documents listed below. I, the
                   below signed notary, personally verified that
                   these documents were placed in an envelope
                   and sealed by me. They were sent by United
                   States Post Office Registered Mail # RA 218 081
                   455 US.

                     Department of the Treasury
                     Internal Revenue Service
                     Troy B. Parker
                     2860 S. Circle Drive
                     Colorado Springs, CO 80906

                     List of Documents Mailed:
                     Copy of Affidavit of Notary Presentment
                     Pre‐offset notice for balanced book adjustment
                     Private Registered Bonded Promissory Note
                     Copy of Bill accepted for value
                     Appointment of Fiduciary
                     1040V




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Number   Stmt Date Statement                                          Declarant   Source             Bates #s    Admission Bases
    14   12/7/2009 On this 7th day of December, 2009, for the         Vigil       Affidavit of       GJ‐         b, e
                   purpose of verification, I, the undersigned                    Notary             00000460
                   Notary Public, being commissioned in the                       Presentment/
                   County and State noted above, do certify that                  Certification of
                   John‐Joseph: Pawelski appeared before me with                  mailing
                   the following documents listed below. I, the
                   below signed notary, personally verified that
                   these documents were placed in an envelope
                   and sealed by me. They were sent by United
                   States Post Office Registered Mail # RA 218 088
                   768 US.

                     GINGER L. WRAY
                     INTERNAL REVENUE SERVICE
                     Revenue Officer
                     20 Mule Deer Ct.
                     Dillon, CO. 80435.

                     List of Documents Mailed:

                     Copy of Affidavit of Notary Presentment
                     Pre‐offset notice for balanced book adjustment
                     Private Bonded Promissory Note
                     Copy of Bill accepted for value
                     1040v Accepted for Value
                     Copy of Form 56 notifying Timothy F. Teithner
                     as fiduciary


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Number   Stmt Date Statement                                          Declarant   Source             Bates #s    Admission Bases
    13   12/7/2009 On this 7th day of December, 2009, for the         Vigil       Affidavit of       00002802    b, e
                   purpose of verification, I, the undersigned                    Notary
                   Notary Public, being commissioned in the                       Presentment /
                   County and State noted above, do certify that                  Certification of
                   John‐Joseph: Pawelski appeared before me with                  Mailing
                   the following documents listed below. I, the
                   below signed notary, personally verified that
                   these documents were placed in an envelope
                   and sealed by me. They were sent by United
                   States Post Office Registered Mail # RA 218 088
                   768 US.

                     GINGER L. WRAY
                     INTERNAL REVENUE SERVICE
                     Revenue Officer
                     20 Mule Deer Ct.
                     Dillon, CO. 80435

                     List of Documents Mailed:

                     Copy of Affidavit of Notary Presentment
                     Pre‐offset notice for balanced book adjustment
                     Private Bonded Promissory Note
                     Copy of bill accepted for value
                     1040v Accepted for Value
                     Copy of Form 56 notifying Timothy F. Teithner
                     as fiduciary


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Number    Stmt Date Statement                                          Declarant   Source             Bates #s    Admission Bases
    15   12/16/2009 On this 16th day of December, 2009, for the        Mueller     Affidavit of       00002438    b, e
                    purpose of verification, I, the undersigned                    Notary
                    Notary Public, being commissioned in the                       Presentment /
                    County and State noted above, do certify that                  Certification of
                    George‐Thomas: Brokaw appeared before me                       Mailing
                    with the following documents listed below. I,
                    the below signed notary, personally verified
                    that these documents were placed in envelopes
                    and sealed by me. They were sent by United
                    States Post Office Registered Mail number RA
                    218 088 581 US to,

                     Michael J. Astrue, Commissioner Social Security
                     & Sheryll Ziporkin, Associate Commissioner
                     Social Security
                     Social Security, 120 East Fourth Street, East
                     Liverpool, Ohio 43920

                     AND Certified Mail #7007 2560 0001 9593 6828
                     to,
                     Phyllis M. Smith, Assistant Regional
                     Commissioner Social Secuirty
                     600 West Madison Street, Chicago, Illinois60661

                     AND Certified Mail #7008 1830 0003 0659 9902
                     to,
                     Maureen Green, Operations Manager Internal
                     Revenue Service
                     1973 N. Rulon White Bldg, Ogden, Utah 84404
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Number    Stmt Date Statement                                        Declarant   Source           Bates #s    Admission Bases
    15   12/16/2009
                      1. COPY OF AFFIDAVIT OF NOTARY
                      PRESENTMENT
                      2. ADMINISTRATIVE AFFIDAVIT OF SPECIFIC
                      NEGATIVE AVERMENT OPPORTUNITY TO CURE
                      AND COUNTERCLAIM
    16   12/16/2009 On the 16 day of December, 2009 A.D., the        Mueller     Affidavit of     00002443    b, e
                    above signed Secured Party Creditor [Brokaw]                 Negative
                    personally appeared before me with this                      Averment /
                    Administrative Affidavit of Specific Negative                Opportunity to
                    Averment, Opportunity to Cure, and                           Cure/
                    Counterclaim, and proved to me on the basis of               Counterclaim
                    satisfactory evidence and identification to be               against IRS
                    the man or woman whose name is subscribed                    employees
                    to the within instrument, and acknowledged to
                    me that he or she executed the same in his/her
                    authorized capacity, and that by his/her
                    signature on the instrument, the person or the
                    entity upon behalf of which the person acted,
                    signed under oath or asservation, and accepts
                    the truth thereof.




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Number   Stmt Date Statement                                        Declarant   Source           Bates #s    Admission Bases
    18   1/14/2010 On the 14th day of January, 2010 A.D., the       Mueller     Affidavit of     00002451    b, e
                   above signed Secured Party Creditor [Brokaw]                 Negative
                   personally appeared before me with this                      Averment /
                   Administrative Affidavit of Specific Negative                Opportunity to
                   Averment, Opportunity to Cure, and                           Cure/
                   Counterclaim, and proved to me on the basis of               Counterclaim
                   satisfactory evidence and identification to be               against IRS
                   the man or woman whose name is subscribed                    employees
                   to the within instrument, and acknowledged to
                   me that he or she executed the same in his/her
                   authorized capacity, and that by his/her
                   signature on the instrument, the person or the
                   entity upon behalf of which the person acted,
                   signed under oath or asservation, and accepts
                   the truth thereof.




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Number   Stmt Date Statement                                       Declarant   Source             Bates #s    Admission Bases
    17   1/14/2010 On this 14th day of January, 2010, for the      Mueller     Affidavit of       00002446    b, e
                   purpose of verification, I, the undersigned                 Notary
                   Notary Public, being commissioned in the                    Presentment /
                   County and State noted above, do certify that               Certification of
                   George‐Thomas: Brokaw appeared before me                    Mailing
                   with the following documents listed below. I,
                   the below signed notary, personally verified
                   that these documents were placed in envelopes
                   and sealed by me. They were sent by United
                   States Post Office Registered Mail number RA
                   218 088 555 US to,

                    Maureen Green, Operations Manager Internal
                    Revenue Service
                    1973 N. Rulon White Bldg, Ogden, Utah 84404

                    1. COPY OF AFFIDAVIT OF NOTARY
                    PRESENTMENT
                    2. ADMINISTRATIVE AFFIDAVIT OF SPECIFIC
                    NEGATIVE AVERMENT OPPORTUNITY TO CURE
                    AND COUNTERCLAIM
                    3. THREE LETTERS FROM IRS OGDEN, UTAH
                    STAMPTED [sic] ACCEPTED FOR VALUE
                    4. TWO LETTERS FROM IRS HOLTSVILLE, NY
                    STAMPTED [sic] ACCEPTED FOR VALUE




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Number   Stmt Date Statement                                       Declarant   Source            Bates #s    Admission Bases
    19   2/5/2010 The above named Libellant, George Thomas         Mueller     Final Notice of   00002469    b, e
                  Brokaw, Executive Trustee for GEORGE                         Demand for
                  THOMAS BROKAW appeared before me, a                          Payment and
                  Notary, subscribed, sworn to the truth of this               Settlement
                  contractual FINAL NOTICE OF DEMAND FOR                       against IRS
                  PAYMENT AND SETTLEMENT for closing of the                    employees
                  escrow.




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Number   Stmt Date Statement                                          Declarant   Source             Bates #s    Admission Bases
    20   2/5/2010 On this 5th day of February, 2010, for the          Mueller     AAffidavit of      00002466    b, e
                  purpose of verification, I, the undersigned                     Notary
                  Notary Public, being commissioned in the                        Presentment /
                  County and State noted above, do certify that                   Certification of
                  George‐Thomas: Brokaw appeared before me                        Mailing
                  with the following documents listed below. I,
                  the below signed notary, personally verified
                  that these documents were placed in envelopes
                  and sealed by me. They were sent by United
                  States Post Office Certified Mail number 7007
                  0220 0004 6415 2868 to,
                  Michael J. Astrue, Commissioner Social Security
                  & Sheryll Ziporkin, Associate Commissioner
                  Social Security
                  Social Security, 120 East Fourth Street, East
                  Liverpool, Ohio 43920

                    AND Certified Mail #7007 2560 0001 9692 8655
                    to,
                    Phyllis M. Smith, Assistant Regional
                    Commissioner Social Security
                    600 West Madison Street, Chicago, Illinois60661

                    AND Certified Mail #7009 0960 0000 7067 4722
                    to,
                    Maureen Green, Operations Manager Internal
                    Service
                    1973 N. Rulon White Bldg., Ogden, Utah 84404

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Number   Stmt Date Statement                              Declarant   Source   Bates #s    Admission Bases
    20   2/5/2010 1. COPY OF AFFIDAVIT OF NOTARY
                  PRESENTMENT
                  2. FINAL NOTICE OF DEFAULT AND DEMAND
                  FOR PAYMENT




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Number   Stmt Date Statement                                         Declarant   Source             Bates #s    Admission Bases
    21   2/17/2010 On this 17th day of February, 2010, for the       Mueller     Affidavit of       SW‐         b, e
                   purpose of verification, I, the undersigned                   Notary             PALM‐
                   Notary Public, being commissioned in the                      Presentment /      00006676
                   County and State noted above, do certify that                 Certification of   &
                   George‐Thomas: Brokaw appeared before me                      Mailing            00003933
                   with the following documents listed below. I,
                   the below signed notary, personally verified
                   that these documents were placed in envelopes
                   and sealed by me. They were sent by United
                   States Post Office Certified Mail number 7009
                   3410 0000 6319 0421 to,
                   Michael J. Astrue, Commissioner Social Security
                   & Sheryll Ziporkin, Associate Commissioner
                   Social Security
                   Social Security, 120 East Fourth Street, East
                   Liverpool, Ohio 43920

                     AND Certified Mail #7009 3410 0000 6319 0438
                     to,
                     Phyllis M. Smith, Assistant Regional
                     Commissioner Social Security
                     600 West Madison Street, Chicago, Illinois
                     60661

                     AND Certified Mail #7009 3410 0000 6319 0445
                     to,
                     Maureen Green, Operations Manager Internal
                     Revenue Service
                     1973 N. Rulon White Bldg., Ogden, Utah 84404
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Number   Stmt Date Statement                                Declarant   Source   Bates #s    Admission Bases
    21   2/17/2010
                     1. COPY OF AFFIDAVIT OF NOTARY
                     PRESENTMENT
                     2. NOTICE OF FINAL DETERMINATION AND
                     JUDGMENT IN NIHIL DICIT




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Number   Stmt Date Statement                                            Declarant   Source             Bates #s    Admission Bases
    22   3/24/2010 On this 24th day of March, 2010, for the             Vigil &     Affidavit of       GJ‐         b, e
                   purpose of verification, I, the undersigned          Pawelski    Presentment by     00000272
                   Notary Public, being commissioned in the                         Hand Delivery /    & SW‐
                   County and State noted above, do certify that                    Certification of   PALM‐
                   George‐Thomas :Brokaw appeared with me to                        Delivery           00003372
                   hand deliver the following documents listed
                   below for personal presentment to the office
                   and official listed below. I, the below signed
                   notary, personally verified that these
                   documents were given to the representative
                   named below as receiver.

                     Internal Revenue Service
                     Aubrey Billingsley ID # 1001022560
                     2864 S. Circle Drive, Suite 700
                     Colorado Springs, CO. 80906
                     Leland Deering. Mgr. [handwritten]
                     226‐3262

                     List of Documents Delivered.

                     Copy of 1040 Return for 2007 with cover letter
                     dated May 1, 2009
                     Copy of Affidavit for Removal, Recession of
                     Signatures from IRS Forms 1040 from Debra
                     Sue Brokaw
                     Copy of Certified Search Federal District Court
                     Copy of Letter to IRS Technical Support Division
                     1500 Pennsylvania Ave., NW, Washington, DC
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Number   Stmt Date Statement                                           Declarant   Source           Bates #s    Admission Bases
    22   3/24/2010 dated March 3, 2010, Registered Mail # RA 218
                   088 343 US

                     Copy of letter to R. M. Owens, IRS Cincinnati,
                     Ohio dated March 9, 2010
                     Copy of UCC Financing Statement and "NOTICE
                     OF MARITIME LIEN" on Internal Revenue
                     Service, Michael J. Pryor, and Douglas Schulman
                     IRS Commissioner.

                     Copy of UCC Financing Statement and "NOTICE
                     OF MARITIME LIENT" on Maureeen Green, IRS
                     Ogden, Utah
    23   4/14/2010 On the 14 day of April, 2010 A.D., the above        Mueller     Affidavit of     00002345    b, e
                   signed Secured Party Creditor [Brokaw]                          Negative
                   personally appeared before me with this                         Averment /
                   Administrative Affidavit of Specific Negative                   Opportunity to
                   Averment, Opportunity to Cure, and                              Cure/
                   Counterclaim, and proved to me on the basis of                  Counterclaim
                   satisfactory evidence and identification to be                  against IRS
                   the man or woman whose name is subscribed                       employees
                   to the within instrument, and acknowledged to
                   me that he or she executed the same in his/her
                   authorized capacity, and that by his/her
                   signature on the instrument, the person or the
                   entity upon behalf of which the person acted,
                   signed under oath or asservation, and accepts
                   the truth thereof.

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Number   Stmt Date Statement                                            Declarant   Source             Bates #s    Admission Bases
    24   4/14/2010 On this 14th day of April, 2010, for the purpose     Mueller     Affidavit of       00002339    b, e
                   of verification, I, the undersigned Notary Public,               Notary
                   being commissioned in the County and State                       Presentment /
                   noted above, do certify that George‐Thomas:                      Certification of
                   Brokaw appeared before me with the following                     Mailing
                   documents listed below. I, the below signed
                   notary, personally verified that these
                   documents were placed in an envelope and
                   sealed by me. They were sent by United States
                   Post Office registered Mail number RA 218 088
                   330 US to,
                   Leland Deering, Group Manager IRS
                   & Aubrey Billingsley, revenue agent IRS
                   Internal Revenue Service, 2864 S. Circle Drive,
                   Ste. 700, Colorado Springs, CO 80906

                     1. COPY OF AFFIDAVIT OF NOTARY
                     PRESENTMENT
                     2. ADMINISTRATIVE AFFIDAVIT OF SPECIFIC
                     NEGATIVE AVERMENT, OPPORTUNITY TO CURE
                     AND COUNTERCLAIM
    25    5/6/2010 The above named Libellant, George Thomas,            Mueller     Notice of          00002476    b, e
                   Brokaw, Executive Trustee for GEORGE                             Demand for
                   THOMAS BROKAW appeared before me, a                              Payment and
                   Notary, subscribed, sworn to the truth of this                   Settlement
                   contractual NOTICE OF DEMAND FOR PAYMENT                         against IRS
                   AND SETTLEMENT for the closing of the escrow.                    employees


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Number   Stmt Date Statement                                          Declarant   Source             Bates #s    Admission Bases
    26   5/6/2010 On this 6th day of May, 2010, for the purpose       Mueller     Affidavit of       00002472    b, e
                  of verification, I the undersigned Notary Public,               Notary
                  being commissioned in the County and State                      Presentment /
                  noted above, do certify that George‐Thomas:                     Certification of
                  Brokaw appeared before me with the following                    Mailing
                  documents listed below. I, the below signed
                  notary, personally verified that these
                  documents were placed in envelopes and
                  sealed by me. They were sent by United States
                  Post Office Certified Mail # 7009 3410 0000
                  6319 0496 to, Roxy Huber, and First Class mail
                  to all others.

                    Leland Deering Group Manager (IRS)
                    & to Aubrey Billingsley, Revenue Agent (IRS)
                    Internal Revenue Service (IRS)
                    2864 South Circle Drive, Suite 700
                    Colorado Springs, Colorado 80906‐9917

                    List of Documents Mailed:

                    Copy of Affidavit of Notary Presentment
                    First Notice of Fault and Demand for Payment
                    Return letter (FORM 4564), noted " this is a
                    partial or incomplete answer"




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Number   Stmt Date Statement                                        Declarant   Source          Bates #s    Admission Bases
    28   5/14/2010 The above named Libellant, George Thomas,        Mueller     Second Notice   00002480    b, e
                   Brokaw, Executive Trustee for GEORGE                         of Demand for
                   THOMAS BROKAW appeared before me, a                          Payment and
                   Notary, subscribed, sworn to the truth of this               Settlement
                   contractual SECOND NOTICE OF DEMAND FOR                      against IRS
                   PAYMENT AND SETTLEMENT for the closing of                    employees
                   the escrow.




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Number   Stmt Date Statement                                         Declarant   Source             Bates #s    Admission Bases
    27   5/14/2010 On this 14 day of May, 2010, for the purpose of   Mueller     Affidavit of       00002477    b, e
                   verification, I the undersigned Notary Public,                Notary
                   being commissioned in the County and State                    Presentment /
                   noted above, do certify that George‐Thomas:                   Certification of
                   Brokaw appeared before me with the following                  Mailing
                   documents listed below. I, the below signed
                   notary, personally verified that these
                   documents were placed in envelopes and
                   sealed by me. They were sent by United States
                   Post Office Certified Mail # 7009 3410 0000
                   6319 7512 to, Roxy Huber, and First Class mail
                   to all others.

                     Leland Deering Group Manager (IRS)
                     & to Aubrey Billingsley, Revenue Agent (IRS)
                     Internal Revenue Service (IRS)
                     2864 South Circle Drive, Suite 700
                     Colorado Springs, Colorado 80906‐9917

                     List of Documents Mailed:

                     Copy of Affidavit of Notary Presentment
                     Second Notice of Fault and Demand for
                     Payment




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Number   Stmt Date Statement                                           Declarant   Source             Bates #s    Admission Bases
    30   5/22/2010 On this 22nd day of May, 2010, for the purpose      Mueller     Affidavit of       00002482    b, e
                   of verification, I the undersigned Notary Public,               Notary
                   being commissioned in the County and State                      Presentment /
                   noted above, do certify that George‐Thomas:                     Certification of
                   Brokaw appeared before me with the following                    Mailing
                   documents listed below. I, the below signed
                   notary, personally verified that these
                   documents were placed in envelopes and
                   sealed by me. They were sent by United States
                   Post Office Certified Mail # 7009 3410 0000
                   6319 7536 to, Roxy Huber, and First Class mail
                   to all others.

                     Leland Deering Group Manager (IRS)
                     & to Aubrey Billingsley, Revenue Agent (IRS)
                     Internal Revenue Service (IRS)
                     2864 South Circle Drive, Suite 700
                     Colorado Springs, Colorado 80906‐9917

                     List of Documents Mailed:

                     Copy of Affidavit of Notary Presentment
                     Final Notice o [sic] Default and Demand for
                     Payment




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Number   Stmt Date Statement                                        Declarant   Source            Bates #s    Admission Bases
    29   5/22/2010 The above named Libellant, George Thomas,        Mueller     Final Notice of   00002485    b, e
                   Brokaw, Executive Trustee for GEORGE                         Demand for
                   THOMAS BROKAW appeared before me, a                          Payment and
                   Notary, subscribed, sworn to the truth of this               Settlement
                   contractual FINAL NOTICE OF DEMAND FOR                       against IRS
                   PAYMENT AND SETTLEMENT for the closing of                    employees
                   the escrow.




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Number   Stmt Date Statement                                           Declarant   Source             Bates #s    Admission Bases
    31   6/14/2010 On this 14th day of June, 2010, for the purpose     Mueller     Affidavit of       00002488    b, e
                   of verification, I the undersigned Notary Public,               Notary
                   being commissioned in the County and State                      Presentment /
                   noted above, do certify that George‐Thomas:                     Certification of
                   Brokaw appeared before me with the following                    Mailing
                   documents listed below. I, the below signed
                   notary, personally verified that these
                   documents were placed in envelopes and
                   sealed by me. They were sent by United States
                   Post Office Certified Mail # 7009 3410 0000
                   6319 0544 to,

                     Leland Deering Group Manager (IRS)
                     & to Aubrey Billingsley, Revenue Agent (IRS)
                     Internal Revenue Service (IRS)
                     2864 South Circle Drive, Suite 700
                     Colorado Springs, Colorado 80906‐9917

                     List of Documents Mailed:

                     Copy of Affidavit of Notary Presentment
                     Notice of Final Determination and Judgment in
                     Nihil Dicit




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Number   Stmt Date Statement                                           Declarant   Source              Bates #s    Admission Bases
    32   3/26/2011 SUBSCRIBED TO AND SWORN before me this              Mueller     Brokaw Letter       SW‐         b, e
                   26th day of March, A.D. 2011, a Notary, that                    to IRS Criminal     PALM‐
                   George Thomas Brokaw, personally appeared                       Investigation       00001205
                   and known to me to be the man whose name                        Division Dated
                   subscribed to the within instrument and                         March 26, 2011
                   acknowledged to be the same.                                    with
                                                                                   "Instructions for
                                                                                   the Enclosed
                                                                                   Invoices"


    33    5/2/2011 SUBCRIBED TO AND SWORN before me this 2nd           Mueller     Brokaw Letter       00004918    b, e
                   day of May, A.D. 2011, a Notary, that Geroge                    to IRS Criminal
                   Thomas Brokaw, personally appeared and                          Investigation
                   known to me to be the man whose name                            Division Dated
                   subscribed to the within instrument and                         May 2, 2011
                   acknowledged to be the same.                                    with
                                                                                   "Instructions for
                                                                                   the Enclosed
                                                                                   Invoices"


    34    6/6/2011 We will be holding the Tim Turner Secured‐          Pawelski    Email to        UC‐             a, b, c, d, e, h, j, l
                   Party Creditor 2‐day seminar on July 9th & 10th                 announce@color 00000015
                   or 16th & 17th. Tom Brokaw and John Pawelski                    adorepublic.org ,
                   will present this material . . . . Please RSVP to                               00002557
                   me, John Pawelski.



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Number   Stmt Date Statement                                       Declarant   Source                Bates #s    Admission Bases
    35    7/6/2011 Tom and I are putting together a short class    Pawelski    Pawelski email        00002558    a, b, c, d, e, h, j, l
                   tomorrow at 2PM ‐ 5PM at the American                       to undercover
                   Legion hall. I am attaching all forms. If you               agent
                   want to get info show up.
    36   8/23/2011 Tom and I will be meeting tomorrow              Pawelski    Pawelski email        UC‐         a, b, c, d, e, j
                   concerning the Bond amount.                                 to undercover         00000020
                                                                               agent                 ,
                                                                                                     00002562


    37   8/25/2011 Tom and I are going to send another one         Pawelski    Undercover            UC‐         a, b, c, d, e, j
                   [bonded promissory note] for $6 million.                    agent recording       00000068


    38    9/1/2011 SUBSCRIBED TO AND SWORN before me this 1st      Mueller     Vigil letter to IRS   SW          b, e
                   day of September, A.D. 2011, a Notary that                  Criminal              SHADY‐
                   Mimi Michelle Vigil, personally appeared and                Investigation         00002134
                   known to me to b [sic] the woman whose name                 Division dated        ‐
                   subscribed to the with instrument and                       September 1,          00002135
                   acknowledged to be the same.                                2011 with
                                                                               "Instructions for
                                                                               the Enclosed
                                                                               Invoices"




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Number    Stmt Date Statement                                             Declarant   Source           Bates #s    Admission Bases
    39   11/22/2011 This is to certify that on this date, the 22 day of   Mueller     Notary           00002717    b, e
                    November, 2011, for the purpose of                                Presentment,
                    verification, I the undersigned Notary Public,                    Certificate of
                    being commissioned in the county of El Paso,                      Mailing
                    do certify that George Thomas Brokaw did
                    appear before me with the following
                    documents listed below. I, Clara M Mueller, the
                    below signed notary, personally verified that
                    these documents were placed in envelopes and
                    sealed by me. They were sent by United States
                    Post Office via CERTIFIED MAIL # 7011 0110
                    0001 2544 4599 to;

                       Internal Revenue Service
                       Stop 4440
                       P O Box 9036
                       Ogden, Utah 84201

                       And a Copy sent by United States Post Office via
                       first class mail to;

                       Internal Revenue Service
                       Criminal Investigation Division
                       Box 192
                       Covington, Kentucky 41012

                       DOCUMENTS INCLUDED
                       1. EFT instrument, Tender for Set‐Off
                       2. Letter of instruction for EFT Instrument
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Number    Stmt Date Statement                                    Declarant   Source   Bates #s    Admission Bases
    39   11/22/2011 3. Statement of account GEORGE T BROKAW
                    account #278‐40‐2356, nine pages titled
                    (FACSIMILE FEDERAL TAX LIEN DOCUMENT)
                    4. This Notary Presentment, Certificate of
                    Mailing




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Number    Stmt Date Statement                                             Declarant   Source           Bates #s    Admission Bases
    40   11/22/2011 This is to certify that on this date, the 22 day of   Mueller     Notary           GJ‐         b, e
                    November, 2011, for the purpose of                                Presentment,     00000487
                    verification, I the undersigned Notary Public,                    Certificate of
                    being commissioned in the county of El Paso,                      Mailing
                    do certify that George Thomas Brokaw did
                    appear before me with the following
                    documents listed below. I, Clara M Mueller, the
                    below signed notary, personally verified that
                    these documents were placed in envelopes and
                    sealed by me. They were sent by United States
                    Post Office via CERTIFIED MAIL # 7011 0110
                    0001 2544 4599 to;

                       Internal Revenue Service
                       Stop 4440
                       PO Box 9036
                       Ogden, Utah 84201

                       And a copy sent by United States Post Office via
                       first class mail to;

                       Internal Revenue Service
                       Criminal Investigation Division
                       Box 192
                       Covington, Kentucky 41012

                       DOCUMENTS INCLUDED
                       1. EFT instrument, Tender for Set‐Off
                       2. Letter of instruction for EFT instrument
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Number    Stmt Date Statement                                         Declarant   Source             Bates #s    Admission Bases
    40   11/22/2011 3. Statement of account GEORGE T BROKAW
                    account #278‐40‐2356, nine pages titled
                    (FACIMILE FEDERAL TAX LIEN DOCUMENT)
                    4. This Notary Presentment, Certificate of
                    mailing
    42     1/4/2012 On the 4th day of January, 2012 A.D., the above   Mueller     Adminstrative      00002683    b, e
                    signed Secured Party Creditor [Brokaw]                        Affidavit of
                    personally appeared before me with this                       Specific
                    Administrative Affidavit of Specific Negative                 Negative
                    Averment, Opportunity to Cure, and                            Averment,
                    Counterclaim, and proved to me on the basis of                Opportunity to
                    satisfactory evidence and identification to be                Cure, and
                    the man whose name is subscribed to within                    Counterclaim
                    the instrument, and acknowledged to me that                   against TIGTA
                    he executed the same in his authorized                        agent and others
                    capacity, and that by his signature on the
                    instrument, the person or the entity upon
                    behalf of which the person acted, signed under
                    oath or asseveration, and accepts the truth
                    thereof.




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Number   Stmt Date Statement                                        Declarant   Source           Bates #s    Admission Bases
    41   1/4/2012 On this 4th day of January, 2012, for the         Mueller     Affidavit of     00002678    b, e
                  purpose of verification, I, the undersigned                   Notary
                  Notary Public, being commissioned in the                      Presentment /
                  County and State noted above, do certify that                 Certificate of
                  George Thomas Brokaw appeared before me                       Mailing
                  with the following documents listed below. I,
                  the below signed notary, personally verified
                  that these documents were placed in an
                  envelope and sealed by me. They were sent by
                  United States Post Office Reigstered Mail
                  receipt number RA 218 088 309 US to William
                  Frankel, Treasury Inspector General For Tax
                  Administration, Denver Field Office, 1999
                  Broadway, Suite 2406, Denver, Colorado 80202

                   And copies sent via first class mail to:
                   Department of the Treasury, C/O Timothy
                   Geithner, Secretary and Governor IMF
                   1500 Pennsylvania Ave. NW, Washington, DC
                   20220
                   And to:
                   Treasury Inspector General for Tax
                   Administration, J. Russell George
                   City Center Bldg., 1401 High Street, NW, Suite
                   469, Washington, DC. 20005

                   1. AFFIDAVIT OF NOTARY PRESENTMENT
                   2. ADMINISTRATIVE AFFIDAVIT OF SPECIFIC
                   NEGATIVE AVERMENT, OPPORTUNITY TO CURE
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Number   Stmt Date Statement                                          Declarant   Source           Bates #s    Admission Bases
    41    1/4/2012 AND COUNTERCLAIM
    43   1/31/2012 On this 31st of January, 2012 for the purpose of   Mueller     Affidavit of     00002686    b, e
                   verification, I, the undersigned Notary Public,                Notary
                   being commissioned in the County and State                     Presentment /
                   noted above, do certify that George Thomas                     Certificate of
                   Brokaw appeared before me with the followign                   Mailing re:
                   documents listed below. I, the below signed                    TIGTA agent
                   notary, personally verified that these
                   documents were placed in an envelope and
                   sealed by me. They were sent by United States
                   Post Office First Class Mail.

                     TREASURY INSPECTOR GENERAL FOR TAX
                     ADMINISTRATION
                     J. Russell George
                     City Center Building
                     1401 H Street, NW
                     Suite 469
                     Washington, DC., 20005

                     List of Documents Mailed:

                     Copy of Affidavit of Notary Presenment
                     Copy of NOTICE OF FAULT, DEMAND FOR
                     PAYMENT




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Number   Stmt Date Statement                                       Declarant   Source           Bates #s    Admission Bases
    44   1/31/2012 The above named Libellant, George Thomas        Mueller     Notice of        00002689    b, e
                   Brokaw, Administrator for GEORGE T BROKAW                   Demand for
                   appeared before me, a Notary, subscribed,                   Payment and
                   sworn to the truth of this contractual NOTICE               Settlement re:
                   OF DEMAND FOR PAYMENT AND SETTLEMENT                        TIGTA agent
                   for closing of the escrow.




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                                                 51




Number   Stmt Date Statement                                         Declarant   Source           Bates #s    Admission Bases
    46   2/21/2012 On this 21st day of February, 2012 for the        Mueller     Affidavit of     0002693     b, e
                   purpose of verification, I, the undersigned                   Notary
                   Notary Public, being commissioned in the                      Presentment /
                   County and State noted above, do certify that                 Certificate of
                   George Thomas Brokaw appeared before me                       Mailing re:
                   with the following documents listed below. I,                 TIGTA agent
                   the below signed Notary, personally verified
                   that these documents were placed in an
                   envelope and sealed by me. They were sent by
                   United States Post Office Certified Mail # 7011
                   0110 0001 2544 4612.

                     TO:

                     TREASURY INSPECTOR GENERAL FOR TAX
                     ADMINISTRATION
                     William Frankel
                     Denver Field Office
                     1999 Broadway, Suite 2406
                     Denver, Colorado 80202

                     List of Documents Mailed:

                     Copy of Notary Presentment
                     Copy of SECOND NOTICE OF FAULT AND
                     DEMAND FOR PAYMENT




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Number   Stmt Date Statement                                         Declarant   Source            Bates #s    Admission Bases
    45   2/21/2012 The above named Libellant, George Thomas          Mueller     Second Notice     00002696    b, e
                   Brokaw, Administrator for GEORGE T BROKAW                     of Demand for
                   appeared before me, a Notary, subscribed,                     Payment and
                   sworn to the truth of this contractual NOTICE                 Settlement
                   OF DEMAND FOR PAYMENT AND SETTLEMENT                          against TIGTA
                   for closing of the escrow.                                    agent
    47   3/15/2012 The above named Libellant, George Thomas          Mueller     Notice of Final   00002702    b, e
                   Brokaw, Secured Party Creditor, Executive                     Determination
                   Trustee for the Trust known as GEORGE T                       and Judgement
                   BROKAW, personally appeared before me, a                      in Nihil Dicit
                   Notary, and proved to me on the basis of                      against TIGTA
                   satisfactory evidence and identification to be                agent
                   the man whose name is subscribed to the
                   within instrument, and that by his signature on
                   the contractual FIRST NOTICE OF FAULT AND
                   DEMAND FOR PAYMENT, and the SECOND
                   NOTICE OF FAULT AND DEMAND FOR PAYMENT
                   for the person or entity upon behalf of whom
                   he acted, he signed under oath or asseveration,
                   and accepts the truth thereof.

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